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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                        Plaintiff,

v.
                                                    CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                        Defendants


                    NOTICE OF MOTION FOR PROTECTIVE ORDER

       PLEASE TAKE NOTICE that undersigned, as counsel of record for Defendants, Daphna

Zekaria, Esquire and Sokolski & Zekaria, P.C. (hereinafter “Zekari Defendants"), will move this

Court for a Protective Order to prohibit any party from noticing the depositions of the Zekaria

defendants and/or conducting any discovery against the Zekaria defendants until a decision is made

on the pending Motion to Withdraw

       PLEASE TAKE FURTHER NOTICE that this motion is accompanied by a proposed

form of Order.

       PLEASE TAKE FURTHER NOTICE that Rebar Kelly reserves its right for oral

argument in the event timely opposition is filed with the Court.

       PLEASE TAKE FURTHER NOTICE that this matter has not been scheduled for trial.
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                                         Respectfully submitted

                                         REBAR KELLY


                                         ____________________________________
                                         Cathleen Kelly Rebar, Esquire (ID # 82872)
                                         Patrick J. Healey, Esquire (ID# 63155)
                                         470 Norristown Road
                                         Suite 201
                                         Blue Bell, PA 19422
                                         (484) 344-5340
                                         Attorneys for Defendants, Daphna Zekaria,
                                         Esquire and Sokolski & Zekaria, P.C.

DATE:       May 23, 2024
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                                 CERTIFICATE OF SERVICE

        Patrick J. Healey, Esquire, hereby certifies that a true and correct copy of the within Motion

has been served upon counsel listed below by the Court’s electronic filing system and via electronic

mail:

                                    Gary P. Lightman, Esquire
                                      Lightman & Manochi
                                     600 W. Germantown Pike
                                            Suite 400
                                   Plymouth Meeting, PA 19462

                                     Seth L. Laver, Esquire
                                  GOLDBERG SEGALLA LLP
                                  1700 Market Street, Ste, 1418
                                    Philadelphia, PA 18103

Via electronic mail only:

                                           Samuel Gross
                                 Charlton Holdings Group, LLC
                             Email: charltonholdinggroupllc@aol.com

                                          Gary Weiss
                                  Email: Wgary4109@grnail.com

Via electronic mail and overnight mail:

                                      Daphna Zekaria, Esquire
                                       8 Westminster Road
                                        Syosset, NY 11791



DATE:            May 23, 2024                                 ______________________________
